Case 18-10997-amc          Doc 36
                           Filed 09/24/18 Entered 09/24/18 19:19:22 Desc Main
                           Document     Page 1 of 3
                IN THE UNITED STATES BANKRUPTCY COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
IN RE:                                     :
LATONYA E. YOUNG                           :    BK. No. 18-10997-amc
                      Debtor               :
                                           :    Chapter No. 13
WELLS FARGO BANK, NA                       :
                      Movant               :
                 v.                        :
LATONYA E. YOUNG                           :
                      Respondent           :    11 U.S.C. §362
                                           :

   MOTION OF WELLS FARGO BANK, NA FOR RELIEF FROM AUTOMATIC STAY
       UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by LATONYA YOUNG.

               1.      Movant is WELLS FARGO BANK, NA.

               2.      Debtor(s) executed a promissory note secured by a mortgage or deed of trust.

The promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly or

through an agent, has possession of the promissory note. Creditor is the original mortgagee or

beneficiary or the assignee of the mortgage or deed of trust.

               3.      LATONYA YOUNG is the owner of the premises located at 4019 DAYTON

ROAD, DREXEL HILL, PA 19026 NKA 4019 DAYTON RD, DREXEL HILL, PA 19026,

hereinafter known as the mortgaged premises.

               4.      Movant is the holder of a mortgage on the mortgaged premises. The terms of

the Debt Agreement were amended by a loan modification agreement entered into by and between

Wells Fargo Bank, NA and Debtor(s) dated April 15, 2015 (the "Loan Modification Agreement").

               5.      Debtor's failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.

               6.      Movant has instituted foreclosure proceedings on the mortgage because of

Debtor's failure to make the monthly payment required hereunder.
Case 18-10997-amc          Doc 36     Filed 09/24/18 Entered 09/24/18 19:19:22 Desc Main
                                     Document       Page 2 of 3
               7.       The foreclosure proceedings instituted were stayed by the filing of the instant

Chapter 13 Petition.

               8.       As of September 10, 2018, the Debtor has failed to tender post-petition

mortgage payments for the months of June 2018 through September 2018. The monthly payment

amount for the months of June 2018 through September 2018 is $1,013.92, less Suspense in the

amount of $1,013.00, for a total amount due of $3,042.68. The next payment is due on or before

October 1, 2018 in the amount of $1,013.92. Under the terms of the Note and Mortgage, Debtor has a

continuing obligation to remain current post-petition and failure to do so results in a lack of adequate

protection to Movant.

               9.       Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               10.      Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               11.      Movant, it's successors and assignees posits that due to Debtor's continuing

failure to tender post-petition mortgage payments and the resulting and ever increasing lack of

adequate protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3),

and that Movant, its successors or assignees should be allowed to immediately enforce and implement

the Order granting relief from the automatic stay.

               12.      Movant requests that Federal Rule of Bankruptcy Procedure 3002.1 be waived.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.       Modifying the Automatic Stay under Section 362 with respect to 4019

DAYTON ROAD, DREXEL HILL, PA 19026 NKA 4019 DAYTON RD, DREXEL HILL, PA

19026 (as more fully set forth in the legal description attached to the Mortgage of record granted

against the Premises), as to allow Movant, its successors and assignees, to proceed with its rights under

the terms of said Mortgage; and
Case 18-10997-amc         Doc 36  Filed 09/24/18 Entered 09/24/18 19:19:22 Desc Main
                                 Document        Page 3 of 3
               b.     Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

               c.     Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

               d.     Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

               e.     Granting any other relief that this Court deems equitable and just.

                                                    /s/ Thomas Song, Esquire
                                                    Thomas Song, Esq., Id. No.89834
                                                    Phelan Hallinan Diamond & Jones, LLP
                                                    1617 JFK Boulevard, Suite 1400
                                                    One Penn Center Plaza
                                                    Philadelphia, PA 19103
                                                    Phone Number: 215-563-7000 Ext 31387
                                                    Fax Number: 215-568-7616
September 24, 2018                                  Email: Thomas.Song@phelanhallinan.com
